                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

                                   MINUTE SHEET

UNITED STATES OF AMERICA                             Date:        April 24, 2019

vs.                                                  Case No.: 19-mj-2033-DPR

JASON A. HAMANN


Honorable David P. Rush, presiding at Springfield, Missouri

Nature of Hearing: Preliminary Hearing
                   Detention Hearing

Time Commenced: 2:07 p.m.                                     Time Terminated: 2:17 p.m.


                                    APPEARANCES

Plaintiff:     Jody Stockard, AUSA
Defendant:     Ann Koszuth, FPD
USPPTS:        Carrie Green


Proceedings: Parties appear as indicated above. Defendant appears in person.

             Preliminary Hearing: Court takes notice of the court file which includes a
             signed affidavit in support of the complaint. No evidence presented with
             regard to probable cause. Court finds probable cause and orders the matter
             held for grand jury or other proceedings.

             Detention Hearing: The Court takes note of its own file, including the
             Pretrial Services Report prepared by the USPPTS Officer. The Government
             has filed a Motion for Detention Hearing (Doc. 8). Arguments made
             regarding Defendant’s custody. The Court takes matter of detention under
             advisement.

             Custody: Defendant in custody.


Courtroom Deputy/ERO: Karla Berziel




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